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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA



 WHITMAN-WALKER CLINIC, INC., et
 al.,

       Plaintiffs,
               v.                                      Civil Action No. 20-1630 (JEB)
 U.S. DEPARTMENT OF HEALTH AND
 HUMAN SERVICES, et al.,

       Defendants.


                                            ORDER

      For the reasons set forth in the accompanying Memorandum Opinion, the Court

ORDERS that:

      1. Plaintiffs’ Motion for a Preliminary Injunction or, in the Alternative, a Stay Pending

         Judicial Review is GRANTED IN PART and DENIED IN PART;

      2. Defendants are preliminarily ENJOINED from enforcing the repeal of the definition

         of discrimination “[o]n the basis of sex” insofar as it includes “discrimination on the

         basis of . . . sex stereotyping,” as previously set forth in 45 C.F.R. § 92.4;

      3. Defendants are preliminarily ENJOINED from enforcing the 2020 Rule’s

         incorporation of the religious exemption contained in Title IX, see 45 C.F.R.

         § 92.6(b); and

      4. Plaintiffs’ Motion is DENIED in all other respects.

IT IS SO ORDERED.




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                                               /s/ James E. Boasberg
                                               JAMES E. BOASBERG
                                               United States District Judge
Date: September 2, 2020




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